Case: 1:19-cv-03899 Document #: 6 Filed: 06/18/19 Page 1 of 1 PagelD #:20
Affidavit of Process Eon)

“Ey SMe SME Sit Lie. LP“ 89
Being duly sworn, on my oath, | Kp / Dew

declare that | am a citizen of the United States, over the age of eighteen and. not 2 party to this action.

Service: 1 served COMM DYE NM ASS, ON, Lit,

NAME OF PERSONENTITY BEING SERVED
with the (documents) © Subpoenawith$ witness fee and mileage

0 SWMUMIONKE., OS, Li bein 7

   

 

 

 

 

 

L “4 7 So) fie :
' Pe Ae wy go f ae “
by serving (NAME) 4%" alge ALG “
S i” il

o Home

at o —_ . —w— tp
/. Business . HID ‘AD Z
f° (DATE) le -13-19 . at (TIME) LLL

Thereafter copies of the documents were mailed by prepaid, first class mai] on (DATE)

 

 

 

From (CITY) _ (STATE)
Manner of Service:
0 By Personal Service
By delivering, during office hours, copies at the office of the person/entity being served, leaving same with the person
apparently in charge thereof, A.

g By leaving a copy afthe defendant's usual place of abode, with some person of the family or a person
residing there, of the age of 13 years or upwards, and informing that person of the general nature of the papers

 
     

 

a By posting copies in a conspicuous manner to the address of the person/entity being served.

 

 

 

 

Non-Service: After due search, careful inquiry and diligent attempts at the address(es) listed above, | have been
unable to effect process upon the person/entity being served because of the following reason(s):
o Unknown at Address og Evading o Other:
a Address does not exist a Service cancelled by litigant
a Moved, Left no forwarding a Unable to serve in a timely fashion
Service Attempts: Service was attemptedon: ( ) A) i)
DATE TIME DATE = TIME DATE TIME
C > {_) { ) {)
DATE TIME DATE TIME DATE TIME DATE TIME
Description: o Male Jwhite Skin aBlackHair oWhiteHair o 14-20 Yrs. o Under 5’ o Under 100.Lbs.
fremate o Black Skin ao Brown Hair o Balding D 21-35 Yrs. Co 5'-5'3" 00-130 Lbs.
a Brown Skin Biond Hair 6-50 Yrs. a §'4"-5'8" 0 131-160 Lbs.
aGlasses o YellowSkin “oGrayHair oMustache “1 51-65 Yrs. a 5'9"-6 ; 0 161-200 Lbs.

co Red Skin o Red Hair o Beard o Over 65 Yrs. o Over é a Over 200 Lbs.
OTHER IDENTIFYING FEATURES: :

State of inois County of Cook : A
SERVED BY _—
— LASALLE PROCESS SERVERS
E LICENSE# 117-001432

 

 

Subscribed and swom to before me_.—

A notary public, this 1? D ay 6 EY EL 20 j

 
       
    

3 OFFICIAL SEAL
: ANDREW RAPHAEL
NOTARY PUBLIC - STATE OF ILLINOIS

MY COMMISSION EXPIRES:10/01/19
ARTERATEMBER NATIONAL ASSOCIATION. OBR?

 

Notary Public
